
670 S.E.2d 907 (2008)
STATE of North Carolina
v.
Darrell Lugene GARRIS.
No. 381P08.
Supreme Court of North Carolina.
December 11, 2008.
Charlesena Walker, Assistant Appellate Defender, for Garris.
Marcus Lodge, Special Deputy Attorney General, Garry W. Frank, District Attorney, for State of NC.
Prior report: ___ N.C.App. ____, 663 S.E.2d 340.

ORDER
Upon consideration of the petition filed on the 18th day of August 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of December 2008."
